          Case 1:22-cv-00659-TJK Document 16 Filed 03/23/22 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 REPUBLICAN NATIONAL COMMITTEE,                    )
                                                   )
       Plaintiff,                                  )    Case No. 1:22-cv-00659-TJK
                                                   )
 v.                                                )
                                                   )
 NANCY PELOSI, et al.,                             )
                                                   )
      Defendants.                                  )
                                                   )
                                                   )
                                                   )
                                                   )
                                                   )
                                                   )
                                                   )
                                                                                   /

 MOTION OF NATIONAL REPUBLICAN SENATORIAL COMMITTEE FOR LEAVE
  TO FILE AMICUS CURIAE BRIEF IN SUPPORT OF PLAINTIFF’S MOTION FOR
                      PRELIMINARY INJUNCTION

       Pursuant to Local Civil Rule 7(o), the National Republican Senatorial Committee

(“NRSC”) respectfully seeks leave to file an amicus curiae brief in support of the Republican

National Committee (“RNC”), arguing that allowing politicians and staffers to access the opposing

political party’s data housed on Salesforce is harmful to American democracy. In addition, it

violates the First Amendment because the inquiry here is not sufficiently tailored to support a

governmental interest.

                              INTEREST OF AMICUS CURIAE

       The National Republican Senatorial Committee, or NRSC, is the national political party

organization devoted to supporting and electing a Republican U.S. Senate majority. The NRSC

maintains a database on the Salesforce platform and provides financial, data, and strategic support

and assistance to current and prospective Republican U.S. Senate candidates. Support from the
           Case 1:22-cv-00659-TJK Document 16 Filed 03/23/22 Page 2 of 3




NRSC for Republican candidates comes in the areas of strategic data, budget planning, election

law compliance, fundraising, communications tools and messaging, research, and strategy. The

NRSC believes that First Amendment rights of political parties must be protected and that partisan

opponents should not be allowed to infringe upon the associational rights of Republican party

committees, candidates, and supporters through disclosure of strategic data.

                                   POSITION OF THE PARTIES

         The RNC has consented to the filing of this amicus brief. The January 6 Select Committee

does not oppose the filing of this amicus brief. Salesforce does not oppose the filing of this amicus

brief.

                                             ARGUMENT

         “An amicus brief should normally be allowed . . . when the amicus has unique information

or perspective that can help the court beyond the help that the lawyers for the parties are able to

provide.” Jin v. Ministry of State Sec., 557 F. Supp. 2d 131, 137 (D.D.C. 2008) (quoting Ryan v.

Commodity Futures Trading Comm’n, 125 F.3d 1062, 1063–64 (7th Cir. 1997)). Courts allow

“parties to file amicus briefs where the brief will assist the judges by presenting ideas, arguments,

theories, insights, facts, or data that are not to be found in the parties’ briefs.” In re Search of Info.,

13 F. Supp. 3d at 167 (quotation marks omitted). Here, the NRSC provides the unique perspective

of another national party committee which also uses Salesforce to house its strategic data, which

is essential to its functioning as a political party committee. Like the RNC, the NRSC has many

supporters who are at risk of a chilling effect that would ripple beyond the RNC should the

Salesforce Subpoena be enforced.




                                                    2
          Case 1:22-cv-00659-TJK Document 16 Filed 03/23/22 Page 3 of 3




                                         CONCLUSION

       For the reasons expressed herein, the Court should grant NRSC’s motion for leave to file

its amicus curiae brief.



Dated: March 23, 2022                         Respectfully Submitted,

                                              DICKINSON WRIGHT PLLC

                                              /s/ Charles R. Spies
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                                              Attorneys for NRSC

                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 23, 2022, I caused a true and correct copy of the foregoing

document to be served upon all counsel of record registered with the Court’s ECF system, by

electronic service via the Court’s ECF transmission facilities.

                                              /s/ Charles S. Spies
                                              Charles S. Spies (Bar ID: 989020)


                             CERTIFICATE OF COMPLIANCE

       I hereby certify that the filing complies with the Local Civil Rules relating to formatting

and page limits, being double-spaced, prepared in 12-point proportionally-spaced font, and not

exceeding the allotted page or word limits.

                                              /s/ Charles S. Spies
                                              Charles S. Spies (Bar ID: 989020)



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